lN THE UNlTED STATES DlSTRlCT COURT
FOR THE NORTHERN DlSTRlCT OF lLLlNOlS
EASTERN DlVlSlON

GREAT AMER|CAN |NSURANCE CO|V|PANY,

P|aintiff,

STATE PARK\N'AY CONDOl\/llNlUl\/| No.

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ASSOC|AT|ON; L|EBERl\/lAN MANAGEMENT )
SERVlCES, |NC.; DONNA WEBER; lVl|CHAEL J. )
NOVAK, |NDlV|DUALLY AND lN H|S )
REPRESENTAT|VE CAPAC|TY FOR HlS |V||NOR )
CH|LD T.N. AS PARENT AND NEXT FR|END; )
and CHR|ST|NA BUGELAS NOVAK, )
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Defendants.

CO|V|PLA|NT FOR DECLARATORV JUDGN|ENT

NOW COiViES the P|aintif'f, Great American insurance Company (”GAlC”) by its attorneys,
l\/|ichae| J. Duf'ly and Ash|ey J. Conaghan of Wi|son E|ser |Vloskowitz Ede|man & Dicker LLP, and
for their Comp|aint for Declaratory Judgment against the Defendants State Par|<Way
Condominium Association (”SPCA”); Lieberman ivianagement Services, |nc. (”Lieberman");
Donna Weber (”Weber”); |Vlichae| J. Novak, individually and in his representative capacity as
Parent and Next Friend of his minor child T.N., (”|V|JN”), and Christina Bueg|as Novak ("CBN”),
states as follows:

STATEIV|ENT OF THE CASE

1. This action seeks a declaration, pursuant to 28 U.S.C. §2201, that GA|C owes no

insurance coverage obligations to the SPCA, Lieberman and/or Weber (co||ective|y referred to

as ”the Association Defendants”) under a policy of insurance issued by GA|C under which SPCA

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is an insured in connection with the two pending lawsuits styled as: (1) Board of Directors of the
State Parkway Condomin:'um Association v. ii/iichaei Novak, Case No. 08 CH 11941 (Chancery
Division, Cir. Ct. of Cooi< Cty., |Lr)(referred to as the ”Chancery Suit”); and (2) Mr'chael Novak,
Christina Bugelas Novak; T.N. by her parent and next friend li/iichael Novak v. Boord of Directors,
the State Parkway Condom:'nfum Association, Donna Weber, Lieberman Management Services,
inc. and i_evenfield Pearlstein, LLC, Case No. 13 cv 8861 (U.S. N.D.il|.)(referred to as the ”Federal
Lawsuit”)(collectively referred to as the ”Novak Ciaims”).
PART|ES

2. GA|C is an insurance company formed under the laws of the State of Ohio with
its principal place of business in Ohio. GA|C conducts business in illinois and within the
geographical boundaries ofthis District.

3. SPCA is an illinois non-for-profit corporation with its principal place of business in
illinois. The Association conducts business in illinois and within the geographical boundaries of
this District.

4. Lieberman is an illinois corporation with its principal place of business in l||inois.
Lieberman conducts business in illinois and within the geographical boundaries of this District.

5. Weber is a citizen and resident of illinois.

6. iViJN and his minor child T.N. is are citizens and residents of i|linois. iViJN,
individually and as T.N.'s representative, is joined as a defendant solely as an interested party
to be bound by the judgment herein.

7. CBN is a citizen and resident of illinois. CBN isjoined as a defendant solely as an
interested party to be bound by the judgment herein

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JURiSDiCT|ON AND VENUE

8. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§1332 as the amount in controversy exceeds $75,000.00 exclusive of costs and interest and the
parties are citizens of different states.

9. Venue is proper in this District pursuant to 28 U.S.C. §1391 as the case concerns
coverage under insurance policies issued to cover risks in this District for a suit pending in this
District as weil as a suit pending within the geographical boundaries of this District and the
parties reside and/or conduct business in this District.

BACKGROUND

10. iViJN and CBN are husband and wife homeowners at the State Parkway
Condominium building and upon information and belief, they currently live there with their
daughter, T.N. (collective|y referred to as ”the Novak Family”).

11. in iViarch 2008, SPCA, via the SPCA Board, filed a complaint against IVUN in the
Chancery Suit.

12. On April 30, 2008, i\/iJN filed his Answer and Affirmative Defenses in response to
SPCA’s complaint in the Chancery Suit. A copy of iViiN’s Answer and Affirmative Defenses is
attached hereto as Exhibit A.

13. On ianuary 13, 2009, MJN filed his first counterclaim in the Chancery Suit (the
”origina| Novak Counterclaim”). A copy of the original Novak Counterclaim is attached hereto

as Exhibit B.

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14. On June 16, 2009, iViiN filed his first amended counterclaim in the Chancery Suit
(the “First Amended Novak Counterclaim"). A copy of the First Amended Novak Counterciaim is
attached hereto as Exhibit C.

15. On September 2, 2009, MJN filed a second amended counterclaim in the
Chancery Suit (”the Second Amended Novak Counterclaim). A copy of the Second Amended
Novak Counterciaim is attached hereto as Exhibit D.

16. On November 8, 2010, Michael and Christina Novak filed a complaint with the
iDHR alleging SPCA engaged in a course of discrimination against the Novaks in connection,with
their housing, including the failure to provide CART services as a reasonable accommodation
and acknowledging their dog as a service dog (the ”2010|DHR Comp|aint”).

17. On December 12, 2013, |VIJN individually and in his representative capacity for
T.N. as parent and next friend, and CBN filed their complaint in the Federal Lawsuit. A copy of
the complaint in the Federal Lawsuit is attached hereto as Exhibit E.

18. SPCA submitted an Application for insurance dated April 28, 2009 to
Distinguished Properties Group (”Distinguished"), an insurance program agent seeking excess
coverage insurance from GA|C as a member of Distinguished’s real estate risk purchasing group
(“the GA|C App|ication”). A copy of SPCA’s App|ication for the GAiC Policy is attached as Exhibit
F.

19. The Application required a minimum of $2 million underlying primary D&O

insurance below any GAiC policy. (See, Ex F. p. 3).

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20. in the SPCA'$ GAiC App|ication, SPCA acknowledged that it complied with the
requirements and represented that it had obtained a $2 million primary D&O policy with
Trave|ers for the iViay 1, 2009 to iViay 1, 2010 policy period. {See, Ex. F. p. 3).

21. Based on the GAiC App|ication, SPCA became a member of Distinguished’s real
estate risk purchasing group and was issued a Certificate of Coverage, Certificate No. 1324074,
which provided $25 million of excess liability coverage for the period of May 1, 2009 to May 1,
2010 under the iViaster Policy issued to Distinguished. A copy of the Certificate of Coverage is
attached as Exhibit G. A copy of the |Viaster Policy is attached as Exhibit H.

22. Subject to all of its terms, the GAiC Policy provides, in part, as follows:

ll. LlMlTS OF lNSURANCE

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G. Retained Limit

We will be liable only for that portion of damages,
subject to the Each Occurrence Limit stated in the
Declarations, in excess of the "retained limit,”
Which is the greater of:

1. the total amounts stated as the applicable
limits of the underlying policies listed in the
Schedule of Underlying insurance and the
applicable limits of any other insurance
providing coverage to the ”insured” during
the Policy Period; or

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lll. DEFENSE

A. We will have the right and duty to investigate any
"ciaim” and defend any "suit” seeking damages
covered by the terms and conditions of this policy
when:

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1. the applicable Limits of insurance of the
underlying policies listed in the Schedule of
Underlying insurance and the Limits of
insurance of any other insurance providing
coverage to the "insured" have been
exhausted by actual payment of ‘claims' for
any ’occurrence' to which this policy

applies; or
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lV. Conditions
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F. Duties in the Event of an Occurrence, Claim or Suit
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2. if a "claim" or "suit” against any ”insured” is

reasonably likely to involve this policy you
must notify us in writing as soon as
practicabie.

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J. Other insurance

if other insurance applies to a loss that is also
covered by this policy, this policy will apply excess
of the other insurance. Nothing herein will be
construed to make this policy subject to the t‘erms,
conditions and limitations of such other insurance.
However, this provision will not apply if the other
insurance is specifically written to be excess of this
policy.

23. The GAiC Policy contains the following Endorsements which provide, in part, as

follows:

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DlRECTORS AND OFF|CERS LlAB|LlTY - FOLLOWING FORM

The following exclusion is added to Section iV -
EXCLUS|ONS:

Any liability arising out of or related in any way, either
directly or indirectiy, to any ”wrongful act” of any director
or officer of any insured in the discharge or performance
of any duties as such a director or officer except to the
extent that such insurance is provided by a policy listed in
the Schedule or Underlying insurance, and for no broader
coverage than is provided by such policy.

As used in this endorsement, ”wrongfu| act” means any
actual or alleged error, misstatement, misleading
statement, act or omission, neglect, breach of duty by any
director or officer in the discharge of any duty as a director
or officer, or any matter claimed against such a director or
officer by reason of such director's or officer’s being a
director or officer of any “insured.”

This endorsement does not change any other provision of
the policy.

BODlLY lN]URY AND PROPERTY DAMAGE FOLLOWING FORM

The following exclusion is added to Section iV -
EXCLUS|ONS:

Any ”bodily injury” or "property damage” except to the
extent that such insurance is provided by a policy listed in
the Schedule or Underlying |nsurance, and for no broader
coverage than is provided by such policy.

This endorsement does not change any other provision of
the policy.

PERSONAL lNJURY - FOLLOW|NG FORM

The following exclusion is added to Section lV -
EXCLUS|ONS:

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Any liability imposed by law, or assumed by any ”insured”
under an ”insured contract," because of ”personal injury”
except to the extent that such insurance is provided by a
policy listed in the Schedule or Underlying insurance, and
for no broader coverage than is provided by such policy.

This endorsement does not change any other provision of
the policy.

ADVERT|$|NG lN]URY - FOLLOW|NG FORM

The following exclusion is added to Section lV -
EXCLUS|ONS:

Any liability imposed by law, or assumed by any ”insured”
under an "insured contract,” because of “advertising
injury" except to the extent that such insurance is
provided by a policy listed in the Schedule or Underlying
lnsurance, and for no broader coverage than is provided
by such policy.

This endorsement does not change any other provision of
the policy.

MA|NTENANCE OF UNDERLY|NG lNSURANCE AN|ENDN|ENT

ENDORSEMENT
MA|NTENANCE OF UNDERL“(|NG lNSURANCE

The policy or policies referred to in the Umbrella
App|ication Underlying Carrier information section, or
renewals or replacements thereof, Which are not more
restrictive in coverage, shall be maintained in full effect
during this policy period, except for any reduction in the
aggregate limits solely by payment of claims and/or claims
expense.

if the underlying insurance is not maintained in full effect
by 'you’ or if any limits of liability of underlying insurance
are:

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1. less than as stated in the application schedule of
underlying insurance;

2. unavailable to "you” due to bankruptcy or
insolvency of any underlying insurer; or

3. if there is any material change in the coverage of
any underlying insurance;

then the insurance afforded by this policy shall
apply in the same manner as if such underlying
insurance and limits of liability had been in effect,
available, so maintained and unchanged.

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NOTlCE OF OCCURRENCE ENDORSEMENT

The "Duties in The Event of an Occurrence, Claim or Suit”
condition is amended to include the foiiowing:

if an ”occurrence”, claim or "suit” does not reasonably appear to
involve either this insurance or any ”underlying insurance,” but it
later develops into an “occurrence” claim or ”suit” to which this
insurance applies, the failure to report it to us will not violate this
condition, provided the "insured" gives us notice as soon as
practicable once the "insured” becoming (sic) aware that this
insurance may apply to such ”occurrence", claim or ”suit”.

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RlSK PURCHAS|NG GROUP ENDORSEMENT

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5. Except insofar as to a coverage available to the insured in
the underlying insurance, and for the full limits of liability
shown therein, this insurance does not apply to ”personal
injury” arising out of any claim or suit based upon or
alleging discrimination against any non-empioyee.

Discrimination includes but is not limited to discrimination
on the basis of age, disability, ethnic origin, martial status,
physical or mental hardship, race, religious affiliation, sex
or sexual orientation.

24.
2010 is a Claims iviade policy issued by Trave|ers Casualty & Surety Company of America
(“Travelers") (referred to as the 2009-2010 Trave|ers Policy”). The 2009-2010 Trave|ers Policy
was initially issued with a $1,000,000.00 limit of iiability, inclusive of defense costs.

25.
Trave|ers Policy limit was amended to $2,000,000.00, inclusive of defense costs, adding an

Exclusion for Claims Brought by a Specific Person or Entity and Amended Pending and Prior

The underlying 2009-2010 Primary D&O Policy effective lVlay 1, 2009 to May 1,

Upon information and belief, on or about iune 25, 2009, the 2009-2010

Litigation Date for increased Limit of Liabi|ity Endorsements.

26.

The insuring Agreement in the 2009-2010 Trave|ers Policy, as modified by

Endorsement, provides as follows:

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The insurer will pay on behalf of the insureds Loss up to the
available maximum aggregate Limit of Liabi|ity set forth in item 3
of the Declarations which is incurred by the insureds as the result
of any Claim first made against the insureds during the Policy
Period or the Discovery Period, if purchased, for a Wrongful Act.

The 2009-2010 Trave|ers Policy contains the following relatedness provision:

Losses based upon or arising out of the same Wrongful Act or
Related Wrongful Acts of one or more of the insureds shall be
considered a single Loss incurred as a result of a single Claim,
which Claim shall be deemed to have been made on the date the
first Claim for such Wrongful Act or for one or more of such
Related Wrongful Acts is made against any of the lnsureds,
whether such date is before or after the Policy inception Date.
The applicable Retention shall apply only once to each such single
Claim.

The 2009-2010 Trave|ers Policy contains the following exclusions:

The insurer shall not be liable to make any payment for Loss in
connection with any Claim made against any of the insureds:

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based upon, arising out of, directly or indirectly resulting
from, in consequence of, or in any way involving bodily
injury, sickness, mental anguish, emotional distress,
disease or death of any person, provided, that this
exclusion shall not apply to allegations of mental anguish
or emotional distress if and only to the extent that such
allegations are made as part of a Claim for Wrongful
Empioyment Practices;

based upon, arising out of, directly or indirectly resulting
from, in consequence of, or in any way involving any fact,
circumstance or situation which has been the subject of
any notice given under any other policy of which this
Policy is a renewal or replacement;

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for liability under or breach of any ora|, written or implied
contract or agreement, or for liability of others assumed
by the insured under any such contract or agreement;
provided however, this exclusion shall not apply to (a) the
insurer's duty to defend and to pay Defense Costs
regarding such Claim; (b) the extent the insured would
have been liable in the absence of such contract or
agreement; or (c) the extent the Claim is a Claim for
Wrongful Empioyment Practices;

brought about or contributed to by any deliberately
fraudulent or dishonest act or omission or any purposeful
violation of any statute or regulation by such insured;
however, this exclusion shall not apply unless a judgment
or other final adjudication adverse to such insured
establishes such a deliberately fraudulent or dishonest act
or omission or purposeful violation;

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The 2009-2010 Trave|ers Policy contains the following conditions:

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30.

Other insurance

Such insurance as is provided under this Policy shall apply
only as excess over any other valid and collectible
insurance. if determined that this Policy and another
insurance policy shall apply as primary, the company shall
not be liable under this Policy for a greater proportion of
such Loss and claims expenses than the applicable Limit of
Liabi|ity stated in the declaration bears to the total
applicable limit of liability of all valid and collectible
insurance against the Loss.

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The 2009-2010 Trave|ers Policy contains a Non-Profit Change

which provides, in part, as follows:

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Non-Profit Change Endorsement

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The insurer shall not be liable to may any payments for
Loss, other than Defense Costs, in connection with any
Claim made against any of the insureds which constitute
costs and expenses incurred or to be incurred to comply
with an order, judgment or award of injunctive or other
equitable relief of any kind, or that portion of a settlement
encompassing injunctive or equitable relief, including but
not limited to actual or anticipated costs and expenses
associated with or arising from an lnsured's obligation to
provide reasonable accommodations under, or otherwise
comply with, the American with Disabilities Act or the
Rehabiiitation Act of 1973, including amendments thereto
and regulations thereunder, or any related or similar law
or regulation.

include Property iVianager Endorsement which provides as follows:

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in consideration of the payment of premium:

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Endorsement

The 2009-2010 Trave|ers Policy contains an Amended Def"mition of insured to

1. Section ii. DEFiNiTiONS, sub-paragraph G. is amended to
include:

a. any independent management organization under
a written contractual agreement solely with the
”insured Organization” (a “Property iVianager”) and

b. any director, officer or employee of a Property
iVianager

but only while performing property management services
for the ”insured Organization” Which are enumerated in
such written contractual agreement.

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3. if any ”Claim” made against a Property iVianager or any
director, officer or employee thereof gives rise to coverage
both under this Policy and under any other liability policy '
of similar insurance issued by the insurer of any of its
affiliates, the |nsurer's maximum aggregate limit of liability
under all such policies for all ”Loss” including ”Defense
Costs," from such ”Claim” shall not exceed $1,000,000.00
subject to the remaining Limits of Liabi|ity of such policies.

Nothing herein contained shall be held to vary, alter, waive or
extend any of the terms, conditions, exclusions or limitations
above mentioned policy, except as expressly stated herein. This
endorsement is part of such policy and incorporated therein.

This endorsement is effective at the inception date stated in item
2 of the Declarations or effective at 12:01 A.iVi. on iViay 1, 2009, if
indicated herein.

32. The 2009-2010 Trave|ers Policy was amended to include an Exclusion for Claims
Brought by a Specific Person or Entity Endorsement which provides as follows:

in consideration of the payment of premium, it is hereby
understood and agreed that the ”lnsurer” shall not be liable to
make any payment for "Loss” in connection with any "Claim" that
is made against any ”insured(sl” and that is brought, maintained
or asserted by or on behalf of iViichael Novak with regard to any

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losses above the $1|\/| limit up to the $2|\/1 limit effective
5/2/2009.. (sic}

Nothing herein contained shall be held to vary, alter, waive or
extend any of the terms, conditions, exclusions or limitations
above mentioned policy, except as expressly stated herein. This
endorsement is part of such policy and incorporated therein.

This endorsement is effective at the inception date stated in item

2 of the Declarations or effective at 12:01 A.M. on i\/iay 1, 2009, if
indicated herein.

The 2009-2010 Trave|ers Policy contains the following definitions:

B. Claim means:
1) a written demand for monetary or non-monetary

relief;
2) a civil proceeding commenced by the service of a

complaint or similar pleading;

3) a criminal proceeding commenced by a return of
an indictment; or

4) a formal administrative or regulatory proceeding
commenced by the filing of a notice of charges,
formal investigative order or similar document,

against an ”lnsured” for a ”Wrongful Act," including an
appeal thereform.

C. Defense Costs means that part of Loss consisting of
reasonable costs, charges and expenses (including but not
limited to attorney fees) incurred solely in defending or
investigating Claims, including appeals therefrom.
Defense Costs does not include salaries, wages, overhead
or benefit expenses of any ”insured” or the ”lnsurer.”

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J. Loss means the total amount excess of the applicable
Retention which any ”insured” becomes legally obligated
to pay as the result of all “C|aims” first made against any

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”insured” during the "Policy Period” for ”Wrongful Acts”
including, but not limited to, damages, judgments,
settlements and ”Defense Costs.” "Loss” does not include
(1) the multiple portion of any multiple damage award, (2)
criminal or civil penalties imposed by law, (3) taxes, (4) any
amount not indemnified by the “lnsured Organization” for
which the “insured” is absolved from payment by reason
of any covenant, agreement or court order, and (5)
matters uninsurable under the law pursuant to which this
Policy is construed.

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M. Policy inception Date means the date stated in item 2(a) of
the Declarations.
N. Policy Termination Date means the date stated in item

2(b) of the Declarations or the date of any cancellation or
non-renewal of this Policy, whichever is earlier.

0. Policy Period means the period between the Policy
inception Date and the Policy Termination Date.

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Q. Related Wrongful Acts means Wrongful Acts that arise out

of, are based on, relate to or are in consequence of, the
same facts, circumstances or situations.

* * *

S. Wrongful Act means any error, misstatement, misleading
statement, act, omission, neglect, or breach of duty
committed or attempted, or allegedly committed or
attempted, by the insured Organization or by one or more
insured Persons, individually or collectively, in their

respective capacities as such, including but not limited to
any Wrongful Empioyment Practices.

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34. On the Application for the 2009-2010 Trave|ers Policy, SPCA listed ”Novak” as a

claim or loss as follows:

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A copy of SPCA’s Application for the 2009-2010 Trave|ers Policy is attached as Exhibit i.

35. The Association Defendants did not tender the Novak Claims to SPCA's ~
commercial general liability (”CGL”) insurer(s) until it tendered the Novak Claims to one of its
CGL insurers, Strathmore insurance Company, a stock company of Greater NY insurance ¥
Companies ("GNY”), in ianuary or February 2017.

36. GNY issued a CGL policy to SPCA effective annually from iViay 1, 2009 to May 1,
2012 which provides a defense outside the limits of liability. A copy of the GNY Declarations and
applicable form is attached as Exhibit J. The GNY Policies contained the following terms:

Section l - Coverages

COVERAGE A BODlLY lN.lURY AND PROPERTY DAN|AGE LlABlLlTY

1. insuring Agreement

a. We will pay those sums that the insured becomes
legally obligated to pay as damages because of
”bodily injury” or ”property damage" to Which this
insurance applies. We will have the right and duty
to defend the insured against any ”suit” seeking
those damages, [...]

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COVERAGE B PERSONAL AND ADVERT|SING lNJURY LlABlLlTY

1. insuring Agreement

a.

We will pay those sums that the insured becomes
legally obligated to pay as damages because of
”personal and advertising injury” to which this
insurance applies. We will have the right and duty
to defend the insured against any "suit” seeking
those damages. [...]

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SECT|ON lV - CO|V|MERC|AL GENERAL LlABlLlTY COND|T|ONS

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Other insurance

if other valid and collectible insurance is available to the
insured for a loss we cover under Coverages A or B of this
Coverage Part, our obligations are limited as follows:

a.

Primary insurance

This insurance is primary except when Paragraph b.
below applies. if this insurance is primary, our
obligations are not affected unless any of the other
insurance is also primary. Then, we will share with
all that other insurance by the method described in
Paragraph c. below.

Excess insurance
(1) This insurance is excess over:

(a) Any of the other insurance, whether
primary, excess, contingent or on
any other basis:

(i) That is Fire, Extended
Coverage, Builder's Risk,
installation Risk or similar
coverage for "your work“;

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(ii) That is Fire insurance for
premises rented to you or
temporarily occupied by you
with permission of the
owner;

(iii) That is insurance purchased
by you to cover your liability
as a tenant for "property
damage" to premises rented
to you or temporarily
occupied by you with
permission of the owner; or

(iv) if the loss arises out of the
maintenance or use or
aircraft, "autos" or
watercraft to the extent not
subject to Exclusion g. of
Section 1 - Coverage A -
Bodily injury and Property
Damage Liabi|ity.

Any other primary insurance
available to you covering liability for
damages arising out of the premises
or operations, or the products and
completed operations, for which
you have been added as an
additional insured by attachment of
an endorsement.

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SECTlON V - DEF|N|T|ONS
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3. ”Bodily injury” means bodily injury, sickness or disease

sustained by a person, including death resulting from any

of these at any time.

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14. "Personal and advertising injury" means injury, including
consequential ”bodily injury" arising out of one or more of
the following offenses:

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b. iViaiicious prosecution ;
c. The wrongful eviction from, wrongful entry into, or

invasion of the right of private occupancy of a
room, dwelling or premises that a person occupies,
committed by or on behalf of its owner, landlord or
lessor;

d. Oral or written publication, in any manner, of
material that sianders or libels a person’s or
disparages a person's or organization's goods,
products or services;

e. Oral or written publication, in any manner, of
material that violates a person’s right of privacy;

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37. GNY disclaimed coverage for the Chancery Suit and Federal Lawsuit on or about
lVlarch 6, 2017.

38. Upon information and belief, SPCA had CGL policies in effect for the following
policy periods: 1) May 1, 2007 to May 1, 2008; (2) Niay 1, 2008 to iViay 1, 2009; (3) May 1, 2012
to iVlay 1, 2013; and (4) May 1, 2013 to iVlay 1, 2014 which subject to their terms also provide
coverage for claims for damages because of ”bodily injury," "property damage" and ”personal
and advertising injury.” Upon information and beiief, the CGL policy issued to SPCA in effect
iViay 1, 2008 to iViay 1, 2009 was issued by Steadfast insurance Company. Upon information and
belief, SPCA or the other the Association Defendants have not tendered the Novak Claims to

these other CGL insurer(s).

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39. Upon information and belief, as of iViarch 9, 2017, SPCA claims that the 51
million limit of the underlying D&O 2009-2010 Trave|ers Policy is purportedly near exhaustion
by payment of defense costs with respect to the Novak Claims and the 2010 iDHR Comp|aint.
SPCA seeks to have GAiC pay the costs of the Association Defendants' defense in the Chancery
Suit and Federal Lawsuit upon exhaustion of the Trave|ers’ $1 million D&O limit for its 2009-
2010 policy.

40. GAiC denies any obligation to provide the Association Defendants with a defense
and/or indemnification in connection with the Novak Claims.

41. An actual controversy exists between the parties concerning the parties’ rights
and obligations with respect to coverage for the claims in the Novak Claims under the insurance
policies at issue, and pursuant to 28 U.S.C. §2201, this Court is vested with the power to declare
the rights and liabilities of the parties hereto and to give such other and further relief that may

be necessary.

COUNT l
No Coverage Because No Claim First Made Within GAiC's Policy Period

42. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40

above as if fully set forth herein. _

43. The GAiC Policy subject to all of its terms, provides excess D&O liability coverage
only for claims first made during its policy period, iViay 1, 2009 to lViay 1, 2010.

44. The original Novak Counterclaim was filed on ianuary 13, 2009 before the i\/iay 1,
2009 inception of GAiC's Policy.

45. The claims in the amended Novak Counterclaims, the 2010 iDHR Comp|aint, and

the Federal Lawsuit arise out of the same or related acts as the original Novak Counterclaim.
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Thus, the amended Novak Counterclaims, the 2010 iDHR Comp|aint, and Federal Lawsuit are
treated as a single ”claim” first made on ianuary 13, 2009 before the |V|ay 1, 2009 inception of
the GAiC Policy.

46. Therefore, there is no coverage under the GAiC Policy for the Novak Claims and
consequently, GAiC owes no duty to defend or indemnify the Association Defendants for the
Novak Claims.

WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Chancery Suit
and Federal Lawsuit; and

B. For all such just and equitable relief, including costs of this suit.

COUNT ii
Known Loss/Loss in Progress Doctrine Precludes Coverage for the Novak Claims

47. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

48. The Association Defendants were aware of a loss or probable loss no later than
January 13, 2009 when the original Novak Counterclaim was filed and before the inception of
the GAiC policy on iViay 1, 2009.

49. The Known Loss/Loss in progress doctrine precludes coverage for the Novak
Claims.

50. Therefore, GAiC has no duty to defend or indemnify the Association Defendants

under the GAiC Policy for the Novak Claims.

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WHEREFORE, Plaintiff, GAiC, prays that this Court enterjudgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Chancery Suit
and Federal Lawsuit; and

B. For all such just and equitable relief, including costs of this suit.

C_LF\M
Known Loss Exclusion Precludes Coverage for the Novak Claims

51. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

52. The policy precludes coverage for any claim ”based upon, arising out of, directly
or indirectly resulting from, in consequence of, or in any way involving any fact, circumstance or
situation which has been the subject of any notice given under any other policy of which this
Policy is a renewal or replacement."

53. The Association Defendants were aware of the original Novak Counterclaim in
lanuary 2009 and reported this claim to Trave|ers on or about iViarch 16, 2009 in SPCA's
Application for the 2009-2010 Trave|ers Policy.

54. Consequently, the Novak Claims fall within the Known Loss Exclusion.

55. Therefore, GAiC has no duty to defend or indemnify the Association Defendants
under the GAiC Policy for the Novak Claims.

WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Chancery Suit

and Federal Lawsuit; and
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B. For all such just and equitable reiief, including costs of this suit.
COUNT iV

Underlying insurance Not Exhausted - the Association Defendants iViust Pav the 51 Million
Gaj:_i between the Underlying D&O insurance and the GAiC Policy

56. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as iffully set forth herein.

57. The GAiC Policy is excess to the underlying policies, including the primary D&O
policy.

58. The i\/iaintenance of Underlying insurance Endorsement provides that if the
underlying insurance is not maintained in full effect or if any limits of liability of underlying
insurance are less than as stated in the application schedule of underlying insurance, then the
GAiC Policy ”shall apply in the same manner as if such underlying insurance and limits of liability
had been in effect, available, so maintained and unchanged.”

59. The Application provided that the minimum required underlying primary D&O
insurance limit was 52 million and SPCA represented that it had a 52 million primary D&O policy
with Trave|ers for the iVlay 1, 2009 to May 1, 2010 policy period. (See, Ex F. p. 3).

60. The Association Defendants seeks coverage from GAiC for the Novak Claims
immediately after the 51 million primary D&O limit under the 2009-2010 Trave|ers Policy is
exhausted.

61. There is a 51 million gap between the actual limit of the 2009-2010 Trave|ers

Policy and the 52 million primary D&O limit required under the GAiC Policy (”the 51 million

sap”)-

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62. The Association Defendants must pay the 51 million gap in defense costs and/or
indemnity before the GAiC Policy need respond.

63. Therefore, subject to the terms of the poiicy,,GA|C has no duty to defend or
indemnify the Association Defendants under the GAiC Policy for the Novak Claims until the 52
million in primary D&O limits are paid, requiring the Association Defendants to pay the 51
million gap.

WHEREFORE, Plaintiff, GAlC, prays that this Court enterjudgment in their favor:

A. A declaration finding the Association Defendants must pay the additional
51 million gap before GAiC need respond;

B. A declaration that subject to all of the policy terms, GAiC has no duty to
defend or indemnify the Association Defendants for the claims against
them in the Chancery Suit and Federal Lawsuit until 52 million in primary
D&O limits are,paid; and

B. For all such just and equitable relief, including costs of this suit.

M_N`|'_V

Underlying insurance Not Exhausted: Association Defendants Must Defend the Novak Claims
Because Of the Failure to Maintain Underlying CGL insurance

64. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

65. The GAiC Policy is excess to the underlying policies, including any primary D&O
policy and/or primary CGL policy issued to SPCA.

66. Upon information and belief, SPCA failed to give timely notice of the Novak

Claims to its CGL insurers.

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67. Upon information and belief, if timely notice was given, one or more of SPCA's
CGL insurers would have defended the Association Defendants in the Novak Claims and the
2009-2010 Trave|ers D&O policy would not have had to respond to defend the Association
Defendants as respects the Novak Claims as Trave|ers' D&O policy would have been excess to
any of SPCA's CGL insurers.

68. Upon information and belief, by failing to give its CGL insurers proper notice of
the Novak Claims, any coverage under those CGL policies is forfeit.

69. SPCA failed to maintain the CGL policies in full effect and accordingly, the
Association Defendants must defend the Novak Claims before the GAiC Policy need respond.

70. Therefore, GAiC has no duty to defend or pay defense costs for the Association
Defendants under the GAiC Policy for the Novak Claims.

WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that the Association Defendants must defend the
claims against them in the Chancery Suit and Federal Lawsuit;

B. A declaration finding that subject to all of the policy terms, GAiC owes no
duty to defend or to pay defense costs for the Association Defendants for
the claims against them in the Chancery Suit and Federal Lawsuit; and

C. For all such just and equitable relief, including costs of this suit.

COUNT V|

Underlying Limits Not Exhausted: Association Defendants Must Pay 51 million for the
Prematurely Exhausted 2009-2010 Trave|ers Policy

71. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40

above as if fully set forth herein.

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72. The GAiC Policy is excess to the underlying policies, including the primary D&O
policy and primary CGL policy issued to SPCA.

73. Upon information and belief, SPCA failed to give timely notice of the Novak
Claims to its CGL insurers.

74. Upon information and belief, if timely notice was given, one or more of SPCA's
CGL insurers would have defended the Association Defendants in the Novak Claims and the
2009-2010 Travelers D&O policy would riot have had to defend the Association Defendants in
the Novak Claims as Travelers' D&O policy would have been excess to any of SPCA’s CGL
insurers.

75. The 51 million limit of the 2009-2010 Travelers Policy would not have been
exhausted by payment of defense costs if the Association Defendants would have given proper
notice under the SPCA's CGL policies,

76. Consequently, the CGL policies were not maintained in full effect and the 51
million limit of the 2009»2010 Travelers Policy was prematurely exhausted by the payment of
defense costs.

77. As the Travelers D&O Policy was improperly exhausted, the Association
Defendants have breached the terms ofthe GAiC Policy.

78. Therefore, subject to the terms of the policy, GAiC has no duty to provide
coverage to the Association Defendants until they pay the 51 million in indemnity for the 51
million of the 2009-2010 Travelers Policy limits that were prematurely exhausted by payment of

defense costs.

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WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that the Association Defendants must pay the
51 million in the 2009-2010 Travelers Policy limits in indemnity;

B. A declaration finding that subject to all of the policy terms, GAiC has no
indemnity obligation until the Association Defendants pay the 51 million
in the 2009-2010 Travelers Policy limits in indemnity that were
prematurely exhausted by payment of defense costs until the total of 52
million in primary limits are paid; and

C. For all such just and equitable relief, including costs of this suit.

COUNT V|i
Breach of Notice Condition in GAlC’s Policy

79. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

80. The GAiC Policy requires notice as soon as practicable if a claim or suit is
”reasonably likely to involve this policy.”

81. Notice was first given to GAiC of the Novak Claims on or about February 6, 2017
representing that Travelers 51 million limits were almost exhausted with 5860,093.91 paid in
defense costs as of the end ofianuary 2017.

82. Upon information and belief, the Association Defendants were aware that the
Novak Claims may implicate the GAiC Policy long before February 2017.

83. Upon information and belief, the Association Defendants breached the notice
condition of the GAiC Policy and have forfeited whatever coverage night otherwise have been

available for the Novak Claims.
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WHEREFORE, Plaintiff, GAiC, prays that this Court enterjudgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Chancery Suit
and Federal Lawsuit; and

B. For all such just and equitable relief, including costs of this suit.

COUNT Vll
Other insurance

84. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

85. The GAiC Policy is an excess policy. The Other insurance provision provides that
”[i]f other insurance applies to a loss that is also covered by this policy, this policy will apply
excess of the other insurance. Nothing herein will be construed to make this policy subject to
the terms, conditions and limitations of such other insurance. i-lowever, this provision will not
apply if the other insurance is specifically written to be excess of this policy."

86. To the extent that there is underlying or primary insurance, such as additional
policies issued to SPCA and/or policies issued to Lieberman and/or Weber, the GAiC Policy is
excess and said insurance must be exhausted before the GAiC Policy responds.

WHEREFORE, Plaintiff, GAiC, prays that this Court enterjudgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Chancery Suit
and Federal Lawsuit until all such underlying or primary insurance is
exhausted; and

B. For all such just and equitable relief, including costs of this suit.
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COUNT lX
No Cover§ge for Uncovered ”Loss"

87. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as iffully set forth herein.

88. The GAiC Policy provides that “a 'loss' does not include (1) the multiple portion
of any multiple damage award, (2) criminal or civil penalties imposed by iaw, (3) taxes, (4) any
amount not indemnified by the insured Organization for which the insured is absolved from
payment by reason of any covenant, agreement or court order, and (5) matters uninsurabie
under the law pursuant to which this Policy is construed.”

89. iV|oreover, provision 6 of the Non-Profit Change Endorsement provides that:

The insurer shall not be liable to may any payments for Loss,
other than Defense Costs, in connection with any Claim made
against any of the insureds which constitute costs and expenses
incurred or to be incurred to comply with an order, judgment or
award of injunctive or other equitable relief of any kind, or that
portion of a settlement encompassing injunctive or equitable
relief, including but not limited to actual or anticipated costs and
expenses associated with or arising from an insured's obligation
to provide reasonable accommodations under, or otherwise
comply with, the American with Disabilities Act or the
Rehabilitation Act of 1973, including amendments thereto and
regulations thereunder, or any related or similar law or
regulation.

90. The Novak Claims seek injunctive relief, equitable relief, punitive damages,

attorneys' fees and costs.

91. These claims do not seek a covered ”loss” under the policy terms or applicable

public policy.

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WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:
A. A declaration finding that GAiC owes no coverage to the Association
Defendants for this relief in the Chancery Suit and Federal Lawsuit; and
B. For all such just and equitable relief, including costs of this suit.

COUNT X
Breach of Contract Excludes Precludes Coveragg

92. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

93. The GAiC Policy precludes coverage for "liabiiity under or breach of any orai,
written or implied contract or agreement, or for liability of others assumed by the insured
under any such contract or agreement; provided however, this exclusion shall not apply to (a)
the insurer's duty to defend and to pay Defense Costs regarding such Claim; (b) the extent the
insured would have been liable in the absence of such contract or agreement; or (c) the extent
the Claim is a Claim for Wrongful Empioyment Practices.”

94. To the extent that the Association Defendants are liable under or for any breach
of contract or agreement, the Breach of Contract Exclusion precludes coverage for such liability.

WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that GAiC owes no coverage for any liability under
any contract or for breach of contract; and

B. For all such just and equitable relief, including costs for this suit.

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Bodily injury Exclusion Precludes Coveragg

95. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

96. The GAiC Policy precludes coverage “based upon, arising out of, directly or
indirectly resulting from, in consequence of, or in any way involving bodily injury, sickness,
mental anguish, emotional distress, disease or death of any person, provided, that this
exclusion shall not apply to allegations of mental anguish or emotional distress if any only to
the extent that such allegations are made as part of a Claim for Wrongful Empioyment
Practice.”

97. The Federal Lawsuit alleges that the Novaks suffered emotional distress,
including allegations of physical manifestation of emotional distress, i'.e., migraines, stomach
aches, nausea and difficulty sleeping.

98. The claims in the Federal Lawsuit fall within the Bodily injury Exclusion and
therefore there is no duty to defend or indemnify the Association Defendants for the claims
against them in the Federal Lawsuit.

WHEREFORE, Plaintiff, GA|C, prays that this Court enterjudgment in their favor:

A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the claims against them in the Federal
Lawsuit; and

B. For all such just and equitable relief, including costs for this suit.

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§QM
Fraudulent or Dishonest Acts Exclusion Precludes Coverggg

99. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

100. The Policy precludes coverage for any ”deliberately fraudulent or dishonest act
or omission or any purposeful violation of any statute or regulation by such insured” provided
there is a judgment or final adjudication adverse to the insured.

101. To the extent that there is a judgment or final adjudication establishing a
deliberate fraudulent or dishonest act or omission or purposeful violation, the Fraudulent or
Dishonest Acts Exclusion precludes coverage.

WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in their favor:

A. A declaration finding that GAiC owes no coverage for any deliberate
fraudulent or dishonest act or omission or purposeful violation of a
statute or regulation; and

B. For all such just and equitable relief, including costs for this suit.

COUNT Xiii
Discrimination Excluslon Precludes Coverage

102. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as iffully set forth herein.

103. The GAiC Policy precludes coverage arising out of a claim or suit based ori the
alleged discrimination, including disability discrimination, of a non-employee except insofar as

to a coverage available to the insured in the underlying insurance.

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104. To the extent the Novak Claims alleged discrimination, the Discrimination
Exclusion in the GAiC Policy applies to preclude coverage.
WHEREFORE, Plaintiff, GAiC, prays that this Court enter judgment in theirfavor:
A. A declaration finding that GAiC owes no duty to defend or indemnify the
Association Defendants for the discrimination claims against them iri the
Chancery Suit and Federal Lawsuit; and
B. For all such just and equitable relief, including costs for this suit.

COUNT XlV
No Coverage for Persons or Entities Who are Not insureds

105. Plaintiff incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

106. Subject to all of terms of the GAiC Policy, a Property iVianager and a director,
officer of an employee of a Property iVianager is an insured ”only while performing property
management services for the 'insured Organization’ which are enumerated in such written
contractual agreement.”

107. To the extent that Weber and/or Lierberman were not performing property
management services which are enumerated in a written contractual agreement with SPCA,
they do not qualify as insureds under the GAiC Policy and there is no coverage under the GAiC
Policy.

WHEREFORE, Plaintiff, GAiC, prays that this Court enterjudgment in their favor:

A. A declaration finding that GAiC owes no coverage to Weber and/or
Lieberman for the claims against them in the Chancery Suit and Federal

Lawsuit if Weber and Lierberman acted outside of the enumerated
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property management services in a written contractual agreement with

SPCA; and

For all such just and equitable relief, including costs for this suit.

Respectfuiiy Submitted,

By: /s/ lViichael J. Duffy
One of the Attorneys for Great American
insurance Com pany

iVlichael i. Duffy (6196669) - rnichael.duffy@wilsone|ser.com
Ashleyi. Conaghan (6303052) - Ashley.conaghan@wilsonelser.com
Wi|son Elser iVioskowitz Ede|man & Dicker LLP

55 West i\/ionroe Street - Suite 3800

Chicago, iL 60603
(312) 704¢0550
(312) 704-1522 (fax)

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